          Case 2:06-cr-00192-JCC         Document 132       Filed 11/21/06      Page 1 of 3




01

02

03

04

05

06

07                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF WASHINGTON
08                                     AT SEATTLE

09 UNITED STATES OF AMERICA,              )
                                          )
10               Plaintiff,               )
                                          )           Case No. CR06-192-JCC
11         v.                             )
                                          )
12   DERRELL WAYMAN,                      )           DETENTION ORDER
                                          )
13               Defendant.               )
     ____________________________________ )
14

15 Offense Charged:

16          Conspiracy to Commit Bank Fraud, in violation of 18 U.S.C. § 1349.

17 Date of Detention Hearing:

18          On June 8, 2006, the defendant made his initial appearance. On June 29, 2006, a

19 detention hearing was held before United States Magistrate Judge Monica J. Benton, after which

20 defendant was released on an appearance bond that included restrictions that he not use,

21 consume, or possess a controlled substance, unless the substance was prescribed to him by a

22 physician. On July 11, 2006, the defendant pleaded guilty to Conspiracy to Commit Bank Fraud,

23 in violation of 18 U.S.C. § 1349. He is currently scheduled for sentencing before the Honorable

24 John C. Coughenour on December 1, 2006.

25          On October 20, 2006, Pretrial Services filed a Petition for Warrant for Defendant Under

26 Pretrial Services Supervision, alleging that the defendant violated the terms and conditions of

     DETENTION ORDER                                                                        15.13
     18 U.S.C. § 3142(i)                                                                 Rev. 1/91
     PAGE 1
          Case 2:06-cr-00192-JCC          Document 132        Filed 11/21/06      Page 2 of 3




01 his bond as follows:

02          1.      Mr. Derrell Wayman has violated his conditions of supervision by failing to

03 abstain from illegal drug use by testing positive for cocaine on October 19, 2006.

04          On November 20, 2006, the defendant appeared before the undersigned Magistrate Judge.

05 He was advised of his rights in connection with the government’s motion to revoke the bond.

06 At the hearing, the defendant admitted the violation.

07          After taking the admission of the defendant that he violated the pretrial bond as alleged,

08 the Court then considered whether the bond at issue should be revoked. Pursuant to CrR 32.1,

09 CrR46(c) and 18 U.S.C. § 3142(f), and based upon the factual findings and statement of reasons

10 for detention hereafter set forth, finds:

11         FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION

12          (1)     On June 29, 2006, defendant was released on bond with pretrial supervision and

13 special conditions.

14          (2)     The defendant has failed to abide by the terms of his bond, and has admitted the

15 same.

16          (3)     The defendant has pleaded guilty to Count 1 in the Indictment.

17          (4)     The defendant has stipulated to detention pending sentencing.

18          (5)     There appear to be no conditions or combination of conditions other than

19 detention that will reasonably assure the defendant’s appearance at future Court hearings as

20 required, and that will address the risk of the defendant’s danger to the community.

21          IT IS THEREFORE ORDERED:

22          (1)     Defendant shall be detained pending trial and committed to the custody of the

23                  Attorney General for confinement in a correction facility separate, to the extent

24                  practicable, from persons awaiting or serving sentences or being held in custody

25                  pending appeal;

26          (2)     Defendant shall be afforded reasonable opportunity for private consultation with

     DETENTION ORDER                                                                          15.13
     18 U.S.C. § 3142(i)                                                                   Rev. 1/91
     PAGE 2
          Case 2:06-cr-00192-JCC       Document 132        Filed 11/21/06      Page 3 of 3




01               counsel;

02         (3)   On order of a court of the United States or on request of an attorney for the

03               government, the person in charge of the corrections facility in which defendant

04               is confined shall deliver the defendant to a United States Marshal for the purpose

05               of an appearance in connection with a court proceeding; and

06         (4)   The Clerk shall direct copies of this Order to counsel for the United States, to

07               counsel for the defendant, to the United States Marshal, and to the United States

08               Pretrial Services Officer.

09         DATED this 21st day of November, 2006.

10

11

12
                                                A
                                                JAMES P. DONOHUE
                                                United States Magistrate Judge
13

14

15

16

17

18

19

20

21

22

23

24

25

26

     DETENTION ORDER                                                                       15.13
     18 U.S.C. § 3142(i)                                                                Rev. 1/91
     PAGE 3
